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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

CHRISTOPHER FRANKLIN,       )
                            )
        Plaintiff,          )
                            )
     v.                     )                             Case No. 4:15CV1283 NCC
                            )
CITY OF ST. LOUIS,          )
ST. LOUIS COUNTY,           )
JON BELMAR, and SAM DOTSON, )
                            )
        Defendants.         )

                                ORDER OF DISMISSAL

        This matter is before the Court on Plaintiff Christopher Franklin’s Motion to

Dismiss without Prejudice (Doc. 64). Plaintiff indicates that he has been charged

with a class D felony in St. Louis County Circuit Court. Therefore, Plaintiff

requests leave to dismiss his case without prejudice to protect his Fifth

Amendment privilege against self-incrimination and to avoid submitting to civil

discovery regarding a pending criminal charge. The remaining Defendants have

not responded to Plaintiff’s Motion and the time to do so has elapsed.1

        Accordingly,




1
 Pursuant to E.D. Mo. Local Rule 4.01, a party opposing a motion to dismiss must file a
memorandum in opposition within seven (7) days after being served with the motion.
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      IT IS HEREBY ORDERED that Plaintiff’s Motion to Dismiss without

Prejudice (Doc. 64) is GRANTED and this case is DISMISSED, without

prejudice.

      IT IS FURTHER ORDERED that, in light of the Court’s decision to

dismiss this case, Defendants City of St. Louis and Sam Dotson’s Motion to

Dismiss (Doc. 62) and Motion for Leave to File Reply Memorandum Out of Time

(Doc. 68) and Defendants St. Louis County and Jon Belmar’s Motion to Dismiss

(Doc. 69) are DENIED, without prejudice, as moot.

Dated this ___ day of July, 2016.


                                        HENRY EDWARD AUTREY
                                        UNITED STATES DISTRICT JUDGE
